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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
-------------------------------------------------------
                                                      :
CHARLES E. AUSTIN, et al.,                            :         CASE NO. 4:01-CV-00071
                                                      :
                  Plaintiffs,                         :
                                                      :
vs.                                                   :         OPINION & ORDER
                                                      :         [Resolving Docs. No. 763, 764, 773, 774,
                                                                777, 778, 807, 813.]
REGINALD A. WILKINSON, et al.,                        :
                                                      :
                  Defendants.                         :
                                                      :
-------------------------------------------------------

JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

        This Opinion and Order resolves opposing motions regarding the Court’s ongoing

jurisdiction in this case. The Plaintiffs move for an order extending the jurisdiction of this Court for

another year due to the Defendants’ alleged current and ongoing violations of the Plaintiffs’ federal

constitutional rights. [Docs. 763, 774, 777, 813.] The Defendants move to terminate the prospective

relief provided by this Court’s February 25, 2002 [Doc. 227.], March 26, 2002 [Doc. 259.] and

March 21, 2006 [Doc. 659.] Orders. [Docs. 764, 773, 778, 807.] The Court heard oral arguments

on the matter on January 11, 2008. [Doc. 799.]

        For the following reasons, the Court DENIES the Plaintiffs’ motion to extend the

jurisdiction of the Court over this case for another year and GRANTS the Defendants’ motion to

terminate the prospective relief provided by the Court’s previous orders.



                                                I. Background


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        The Court notes that it has recorded this case’s extensive background in its Opinions and

Orders of March 21, 2006, August 2, 2006, August 7, 2006, September 27, 2007, October18, 2007,

and January 10, 2008. [Docs. 659, 699, 703, 765, 772, 798.] The Court refers the reader to these

opinions and incorporates these previously discussed findings here.

        Most recently, the Court has addressed the Plaintiffs’ challenges to the Defendants’ proposed

prison policies affecting placement, classification and retention at the Ohio State Penitentiary

(“OSP”) as well as the Defendants’ mental health policies and practices. [Docs. 765, 772.] With

its September 27, 2007 Opinion and Order, the Court found that the Defendants continued to violate

the Plaintiffs’ procedural due process rights in certain respects and ordered the Defendants to

accordingly modify their prison administration policies to conform to the requirements of the Due

Process Clause. [Doc. 765.] The Defendants appealed this Order on October 26, 2007. [Doc. 775.]

The Court denied the Defendants’ request for a stay pending appeal. [Doc. 798.] Most importantly,

on November 5, 2007, the Defendants modified their prison administrative policies to comply with

the Court’s September 27, 2007 Order.          [Doc. 778-2.]     Since the Defendants’ November

modifications, the Plaintiffs have not provided any further argument or evidence showing that the

Defendants continue to engage in the procedural due process violations described in the Court’s

September 27, 2007 Order. As to the Plaintiffs’ renewed mental health challenge, with its October

18, 2007 Order, the Court denied the Plaintiffs’ motion to reopen their mental health claims. [Doc.

772.]

        With the instant motions, the parties disagree as to whether the Court should continue or

terminate the prospective relief it provided with its previous orders. [Docs. 763, 764, 773, 774, 777,

778, 807, 813.] The Plaintiffs offer three grounds in support of their argument to continue


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jurisdiction. First, the Plaintiffs claim that the Court’s September 27, 2007 Order (finding three due

process violations) confirms that the Defendants are engaging in current and ongoing violations of

the Plaintiffs’ constitutional rights. [Doc. 777 at 3-5.] Second, the Plaintiffs raise concerns as to

the Defendants’ failure to provide a statewide Level 4 policy and allegations of “serious new

incidents” involving Level 4 inmates throughout Ohio. [Doc. 763 at 5-12.] Finally, they claim that

the Court should retain jurisdiction to consider granting a permanent injunction regarding alleged

due process violations of death row inmates at the OSP. [Doc. 777 at 5.]

        On the other hand, the Defendants move to terminate the prospective relief the Court

provided with its February 25, 2002 [Doc. 227.], March 26, 2002 [Doc. 259.] and March 21, 2006

[Doc. 659.] Orders. [Doc. 764.] In response to the Plaintiffs’ first claim, the Defendants argue that

because the Warden has complied with the Court’s September 27, 2007 Order by appropriately

modifying the prison administration policies, the Plaintiffs fail to show that the Defendants are

engaging in current and ongoing constitutional violations that would permit the Court to continue

relief. [Doc. 778, 807.] In answering the Plaintiffs’ second claim, the Defendants state that the

Plaintiffs’ concerns regarding a statewide Level 4 policy are misplaced because the scope of this

litigation and its relief is limited to the OSP. [Doc. 773 at 4.] Finally, in response to the Plaintiffs’

death row claim, the Defendants say that the Plaintiffs’ allegations regarding death row also fail to

prove a current and ongoing constitutional violation. [Doc. 773 at 7-11.]



                                         II. Legal Standard

        The Prison Litigation Reform Act (“PLRA”), 18 U.S.C. § 3626, provides the standard for

continuation and termination of injunctive relief in prison litigation. It provides:


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       In any civil action with respect to prison conditions in which prospective relief is
       ordered, such relief shall be terminable upon the motion of any party or intervener--

       (i) 2 years after the date the court granted or approved the prospective relief; [or]

       (ii) 1 year after the date the court has entered an order denying termination of
       prospective relief under this paragraph . . .

§ 3626(b)(1)(A). A Court may continue prospective relief beyond two years only if the Court finds

that such relief “remains necessary to correct a current and ongoing violation of the Federal right,

extends no further than necessary to correct the violation of the Federal right, and that the

prospective relief is narrowly drawn and the least intrusive means to correct the violation.” §

3626(b)(3). “The legislative history of the enactment . . . clearly shows that Congress intended

‘current and ongoing’ to mean a presently existing violation, not a potential, or even likely, future

violation.” Cason v. Seckinger, 231 F.3d 777, 783-84 (11th Cir. 2001). See also e.g., SCI-

Graterford v. Beard, 334 F.3d 301, 304-5 (3rd Cir. 2003).

       In the instant case, the Defendants move to terminate the prospective relief found in the

Court’s February 25, 2002 [Doc. 227.] and March 26, 2002 [Doc. 259.] Orders as well as the Court’s

March 21, 2006 Order [Doc. 659.]. See [Docs. 764, 773, 778, 807.]. Those orders denied the

Defendants’ previous requests to terminate prospective relief.

       Under the PLRA, the Court must determine whether the Defendants are engaging in current

and ongoing violations of the Plaintiffs’ federal rights such that the Court should continue the

prospective relief it has provided with its previous orders. If the Court finds no such violations, the

Court must terminate the prospective relief.


                                           III. Discussion

       The Plaintiffs argue that the Court should continue the prospective relief and retain

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jurisdiction over this case on the following three grounds: 1) the Court’s September 27, 2007 Order

finding constitutional violations confirms that the Defendants are engaging in current and ongoing

violations of the Plaintiffs’ due process rights; 2) the Defendants’ failure to provide a statewide

Level 4 classification policy and allegations of “serious new incidents” involving Level 4 inmates

at other prisons prove current and ongoing constitutional violations at the hands of the Defendants;

and 3) the Court should consider whether the conditions on death row at the OSP constitute an

atypical and significant hardship such that the failure to provide adequate procedural safeguards with

regard to placement at the OSP violates the Plaintiffs’ procedural due process rights. The Court will

ultimately find that the Defendants are not engaging in current and ongoing violations of the

Plaintiffs’ federal constitutional rights to a degree that warrants continuing prospective relief and

jurisdiction in this case.



A. Levels 4 and 5 Classification, Placement and Retention Policies at the OSP 1/

         On March 21, 2007, the Court extended its jurisdiction over the due process issues after

remand from the Supreme Court in Wilkinson v. Austin, 545 U.S. 209 (2005) until September 21,

2007. [Doc. 746.] The Court then considered five issues relating to the classification, placement,

and retention policies at the OSP that the Plaintiffs claimed violated the Constitution:

         Defendants do not provide due process when determining a prisoner’s expected
         length of stay on Level 5 during the 30 day review after placement at OSP



         1/
            On May 16, 2007, the Defendants changed their parole policy to permit OSP inmates, at both Levels 4 and
5, to be eligible for parole. [Doc. 751.] The Defendants argue, “Due to Defendants’ policy change concerning parole
eligibility while confined at the OSP, a protected liberty interest might no longer exist in being confined at the OSP.”
[Doc. 773 at 5-6.] Because the Court finds no current and ongoing violations of the Plaintiffs’ federal rights, assuming
that the Plaintiffs still have a liberty interest in being placed at the OSP, the Court need not address the Defendants’
argument here.

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In annual security level assessments after a prisoner’s initial placement, Defendants do not provide
meaningful review

       Defendants do not provide a reasoned decision for their security assessments

       Defendants do not provide due process when a recommendation to reduce a
       prisoner’s security level is reversed

       Defendants’ proposed policies do not provide due process protections “comparable”
       to New Policy 111-07 as described by the Supreme Court

[Doc. 752.]

       On September 27, 2007, the Court found that the Defendants’ prison administration policies

generally complied with the requirements of the Due Process Clause except in three specific ways.

Accordingly, the Court ordered the Defendants to modify their classification, placement and

retention policies to fully conform to the requirements of the U.S. Constitution. [Doc. 765.] First,

the Court ordered the Defendants to ensure compliance in the annual security level assessments:

               Based on Wilkinson’s emphasis on the importance of an inmate’s behavior
       as a benchmark for the terms of his incarceration and after reviewing the “Annual
       supervision reviews for level 5 inmates” contained in the proposed policy, the Court
       finds Plaintiffs’ request to be reasonable in asking that Defendants communicate in
       sufficient detail their consideration of an inmate’s positive behavior at the OSP to the
       inmate at the time of the annual security review. To do otherwise would provide
       notice, but no content and, as such, run the risk of falling short of the Constitution’s
       adequacy requirement.
               Thus, the Court orders Defendants to consider and communicate in sufficient
       detail inmates’ positive behavior during the annual review process.

Id. at 9. Second, the Court ordered the Defendants to provide reasoned decisions to the Plaintiffs

in their security assessments:

                The Court agrees with Plaintiffs that these notices do not provide inmates
       with a reasoned decision that gives them notice as to what they must do to reduce
       their status from Level 5. Indeed, these notices tell inmates that, regardless of their
       good behavior and self-improvement, they can expect to “remain[] confined at the
       OSP for many years.”
                This message runs counter to the Supreme Court’s jurisprudence and this

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         Court’s previous Orders. . . . Thus, the Proposed Policy and the OSP’s procedures
         in implementing them must provide for a reasoned decision[] to an inmate as to what
         he must do to reduce his classification status from Level 5.

Id. at 11-12.2/ Finally, the Court ordered the Defendants to provide notice to Level 4 inmates of their

rights regarding voluntary placement at the OSP:

         In order for the inmates to knowingly and voluntarily choose to remain at the OSP
         and thereby waive certain rights, they must “have full awareness of the
         consequences” of remaining at the OSP and the three elements Plaintiff lists above.3/
         The Court orders Defendants to so revise the election form.

Id. at 23.

         Effective November 5, 2007, the Defendants modified their prison administration policies

to conform to the three orders above. [Doc. 778-2.] As to the first order, the Defendants’ Level 5

Classification policy now states, “The Classification Committee must consider and communicate

in sufficient detail inmates’ positive behavior during the annual review process.” Id. at 11. As to

the second order, the policy now provides, “The Classification Committee must provide a reasoned

decision to an inmate that tells what he or she must do to reduce his or her classification status from

Level 5.” Id. Finally, as to the third order, Warden Mark Houk states, “In response to the Order,

all inmates classified as Level 4 have executed a revised election form . . . . I directed my staff to

submit the revised forms to my administrative assistant on October 30, 2007, which was

accomplished.” Id. at 1. The Defendants submitted the revised election form to the Court. Id. at

2.


         2/
          The Court also points to its January 10, 2008 Order that further elaborated on the scope of this second Order.
[Doc. 798 at 5-11.]
         3/
             Level 4 prisoners must have notice of the following three elements: “(i) that [the Level 4 prisoner] shall not
be placed or retained at OSP without his written consent, (ii) that he can withdraw his consent in writing at any time,
and (iii) that the Bureau of Classification will transfer him to another institution with all due speed upon receipt of a valid
request for transfer.” [Doc. 765 at 19 (citing Doc. 716 at 14).]

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         With these revised policies and forms in place and without any further evidence that the

Defendants are failing to comply with the Court’s September 27, 2007 Order,4/ the Court finds that

the Defendants have complied with the Court’s September 27, 2007 Order. Therefore, the Court

does not find that the Defendants are committing current and ongoing constitutional violations as

to their Levels 4 and 5 classification, placement and retention policies at the OSP.

         At oral argument, the Plaintiffs recasted this inquiry into a mootness-voluntary cessation

determination. [Doc. 803 at 17-18.] The Plaintiffs claimed that the Defendants are in effect saying

that the Plaintiffs’ claims are moot because the Defendants voluntarily ceased committing violations

by modifying their policy. The Plaintiffs say that the claims are only moot, and implying that the

Court can only terminate jurisdiction, if the Court finds that there is no reasonable expectation of

the violations recurring. See Friends of the Earth v. Laidlaw, 528 U.S. 167, 189 (2000) (“the

standard we have announced for determining whether a case has been mooted by the defendant's

voluntary conduct is stringent: ‘A case might become moot if subsequent events made it absolutely

clear that the allegedly wrongful behavior could not reasonably be expected to recur’”) (citation

omitted). However, under the PLRA, this Court cannot continue prospective relief at this juncture

without finding a current and ongoing violation of the Plaintiffs’ federal rights. See e.g., Cason,

231 F.3d at 783-84; SCI-Graterford, 334 F.3d at 304-5. The likely recurrence of a violation is not

enough to meet the PLRA standard needed to continue jurisdiction. The PLRA’s legislative history

provides guidance:

         These dual requirements [of current and ongoing] are necessary to ensure that court
         orders do not remain in place on the basis of a claim that a current condition that


         4/
            The Court does not consider the Plaintiffs’ vague footnote reference to some unresolved issues between the
parties as additional argument or evidence supporting the extension of jurisdiction. [Doc. 813 at 7, fn. 2.]

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         does not violate prisoners' Federal rights nevertheless requires a court decree to
         address it, because the condition is somehow traceable to a prior policy that did
         violate Federal rights, or that government officials are “poised” to resume a prior
         violation of federal rights. If an unlawful practice resumes or if a prisoner is in
         imminent danger of a constitutional violation, the prisoner has prompt and complete
         remedies through a new action filed in State or Federal court and preliminary
         injunctive relief.

SCI-Graterford, 334 F.3d at 304-5 (quoting H.R. Conf. Rep. No. 105-405, at 133 (1997)).

         Without finding a current and ongoing violation of the Plaintiffs’ federal rights, the Court

cannot continue prospective relief on this ground.


B. Level 4 Classification, Placement and Retention Procedures at Ohio Prisons other than the
OSP

         The Plaintiffs raise similar constitutional concerns regarding Level 4 procedures at other

prisons throughout Ohio.5/ [Doc. 763 at 5-12; Doc. 777 at 10-11.] The Plaintiffs say that the

Defendants’ lack of a statewide Level 4 policy and “serious new incidents” involving Level 4

inmates at other prisons present current and ongoing constitutional violations such that the Court

must retain jurisdiction and continue prospective relief in this case.

         The Court agrees with the Defendants that this argument is misplaced. While the Plaintiffs’

allegations may have merit, this case does not involve the procedures used to classify inmates at

institutions other than the OSP. The scope of the Plaintiffs’ First Amended Complaint is limited to

allegations involving the OSP. [Doc. 20.] As the Supreme Court said when it described the scope


         5/
           The Plaintiffs say that “in September 2007, there is still no stand-alone Level 4 policy.” [Doc. 763 at 7.] The
Court notes that the Defendants provided the Court with their proposed “Inmate Security Classification Level 4 at the
OSP” policy on February 27, 2007. See Doc. 738. Because the Plaintiffs have not presented any further challenges to
the Defendants’ proposed policy governing Level 4 at the OSP following the Court’s September 27, 2007 Order, the
Court does not review this policy but instead addresses what it takes to be the Plaintiffs’ primary concern--the lack of
a statewide Level 4 policy governing procedures at prisons other than the OSP.



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 of its review in Wilkinson, the case involves “what process an inmate must be afforded under the

 Due Process Clause when he is considered for placement at OSP.” Wilkinson, 545 U.S. at 220

 (emphasis added). As described above, the Court has addressed and the Defendants have

 appropriately responded to the Plaintiffs’ concerns regarding Level 4 prisoners at the OSP. The

 Plaintiffs’ current claims involving prisons other than the OSP are not properly before this Court.6/




 C. Death Row at the OSP

          On October 3, 2005, the Court denied the Plaintiffs’ motion seeking a preliminary injunction

 preventing the transfer of death row inmates from Mansfield Correctional Institute (“ManCI”) to the

 OSP. [Doc. 624.] The Plaintiffs had argued that the transfer of death row inmates to the OSP

 without individualized hearings would deprive them of liberty without due process of law. Id. The

 Court responded: “[T]he Court finds insufficient evidence that confinement of death row inmates

 under the conditions promised by Defendants would be atypical and a significant hardship,” and

 therefore the Court found no liberty interest entitled to due process protection. Id. Because the

 death row inmates had not yet been transferred and the Court based its decision on the

 representations of the Defendants, the Court reserved ruling on the Plaintiffs’ request for a

 permanent injunction “until such time as the Court may better evaluate the actual restrictions placed

 on and privileges afforded death row inmates at OSP.” Id. at 20.


          6/
              The Plaintiffs suggest that these claims are appropriately addressed to this Court because they involve
 prisoners who, though no longer at the OSP, are class members of this lawsuit. [Doc. 763 at 8; Doc. 777 at 10.] While
 the Plaintiffs are correct that the class includes prisoners who were one time at OSP and are no longer there, the Plaintiffs
 are incorrect that the scope of this lawsuit includes prison administration policies and practices throughout the state of
 Ohio. As the Court described in its October 5, 2001 Order certifying the class, “The Plaintiffs’ claims are based on the
 alleged cruel conditions at OSP.” [Doc. 105 at 9.]

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        The Plaintiffs now say they “need an opportunity to contest genuine issues of material fact

 before the Court comes to conclusions” on whether the conditions on death row at the OSP create

 an atypical and significant hardship such that inmates have a protected liberty interest in being

 placed there. [Doc. 777 at 5.] With their reply brief, the Plaintiffs request that the Court “maintain

 the status quo by deferring its assessment of Death Row at OSP until after the appeal is decided.”

 Id. Because the Court finds no other grounds to continue prospective relief in this case, the Court

 will not continue such relief for the sole purpose of the Plaintiffs’ requested future assessment.

        The Court does not fully address the merits of the Plaintiffs’ allegations as they have

 conceded that their arguments are only at a “preliminary” stage [Doc. 763 at 13.] and therefore, they

 have not fully presented their case on this issue. Nevertheless, for the purpose of determining

 whether to continue prospective relief in this case, the Court examines whether the Plaintiffs have

 shown a current and ongoing violation of the Plaintiffs’ rights on this ground. Thus, the Court

 addresses the Plaintiffs’ preliminary arguments in this context and ultimately finds that the Plaintiffs

 fail to show a current and ongoing violation here as well.

        The Fourteenth Amendment to the United States Constitution prohibits governments from

 depriving individuals of "life, liberty, or property" without "due process of law." Under 42 U.S.C.

 §1983, individuals may seek redress in federal court for an alleged violation of this right to liberty.

 Where, as here, a party seeks relief from an alleged deprivation of a liberty interest without due

 process, the Court analyzes the claim using two steps. First, the Court determines if the right at

 issue is a protected liberty interest. See Ky. Dep't of Corr. v. Thompson, 490 U.S. 454, 460 (1989);

 Pusey v. City of Youngstown, 11 F.3d 652, 656 (6th Cir. 1993). If the Court finds such a liberty

 interest entitled to protection, it must determine whether the state afforded procedures that were


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 constitutionally adequate. See e.g., Thompson, 490 U.S. at 460; Pusey, 11 F.3d at 656.

        Courts provide due process protection to a state-created liberty interest involving prison

 confinement when the state action creates an “atypical and significant hardship” by subjecting the

 prisoner to conditions significantly different from those ordinarily experienced by similarly situated

 inmates. Sandin v. Conner, 515 U.S. 472, 486 (1995). Here, the Plaintiffs argue that the conditions

 on death row at the OSP create an “atypical and significant hardship” triggering due process

 protection as to their placement there. With its comparative “atypical and significant hardship”

 analysis, the Court must compare the conditions on death row at the OSP to the conditions on death

 row at other Ohio prisons. [Doc. 624 at 12.]

        In earlier phases of this litigation, this Court found, and the Sixth Circuit and Supreme Court

 agreed, that the conditions of confinement at the OSP were sufficiently restrictive so that a prisoner's

 transfer to the OSP presented an atypical and substantial hardship. See Austin v. Wilkinson, 372 F.3d

 346 (6th Cir. 2004); Wilkinson, 545 U.S. at 223-24. Courts involved in this litigation have drawn

 attention to the “extreme isolation visited upon the inmates at OSP, the lack of any outdoor

 recreation, the limitations upon personal property rights and access to telephones and counsel, and

 finally, the ineligibility of OSP inmates for parole” when finding a protected liberty interest in

 avoiding assignment to OSP. Austin, 372 F.3d at 353; Wilkinson, 545 U.S. at 223-24.

        The Court finds that the Plaintiffs’ current allegations do not sufficiently differ from the

 evidence in 2005 such that the Court should come to a different conclusion. Thus, the Court finds

 that at this preliminary stage of fact finding on the issue, the conditions on death row at the OSP do

 not present an atypical and significant hardship triggering due process protection.

        The Plaintiffs first point to restrictions on death row prisoners’ visitation privileges when


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 compared to Level 4A prisoners at the OSP (prisoners who the Court has found face an atypical and

 significant hardship in placement at the OSP). [Doc. 765 at 21.] In contrast to Level 4A prisoners,

 the Plaintiffs allege that the Defendants do not permit death row inmates contact visits until

 execution is imminent, only afford them semi-contact visits if space is available in the limited

 number of booths, only allow visits to last three hours, and require the inmates to wear leg irons

 during visits 7/. [Doc. 763 at 14-15; Doc. 777 at 9.] The Plaintiffs make no comparisons to death

 row visitation policies at other prisons.

          The Plaintiffs next point to death row prisoners’ recreation conditions at the OSP.8/ They

 say that unlike the larger yards and facilities available to death row inmates at other prisons, the OSP

 recreation areas are simply “extensions of the building with very high concrete walls and limited

 sunlight, fences over the top through which security staff look down, and concrete floors.” [Doc.

 763 at 15-16.] They further state that the death row prisoners are “confined in a constricted area

 within the same building with the same people for many years. Prisoners who are not in special

 management do not experience comparable restrictions in any other Ohio prison.” Id. at 16.

          The Plaintiffs also remind the Court that the duration of confinement in this context is until



          7/
            The Defendants contest this allegation: “Death row inmates have no restraints on while in visiting booths.”
 [Doc. 773 at 7.] However, the Defendants’ policy says otherwise: “The leg irons will remain on the Death Row inmate
 during the visit.” [Doc. 763-13 at 3.]

          8/
              Unlike the Court’s 2005 Order that emphasized the death row inmates’ amount of out-of-cell and recreation
 time, the Plaintiffs here focus on the quality of the recreation facilities that the inmates face. With its 2005 Order, the
 Court found that the proposed 35 hours of out-of-cell time and 5 hours of outdoor recreation time each week, along with
 promises that inmates would eat meals together rather than in isolation, did not constitute an atypical and significant
 hardship when compared to other prisons’ death row conditions, particularly at Mansfield. [Doc. 624 at 5-6, 14.] The
 Defendants claim that the death row inmates have at least as much out-of-cell and outdoor recreation time now as what
 was proposed in 2005. [Doc. 773 at 8.; Doc. 803 at 26.] Responding, the Plaintiffs reference Inmate Michael Benge’s
 declaration and informal complaint to contest the Defendants’ assertions regarding out-of-cell and recreation time: Benge
 says that while the Warden’s statements reflect the official policy, they do not represent what actually occurs. [Doc. 777-
 4.] Again, the Plaintiffs presumably seek a future opportunity to contest this genuine issue of a material fact.

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 execution or reversal of the sentence. Id. at 16. As the Court stated in its 2005 Order, “Given the

 nature of the plaintiffs’ sentences, this period could vary significantly, but could potentially last for

 a decade or longer. Therefore, if the other conditions of confinement pose significant hardships, this

 factor would compound that hardship.” [Doc. 624 at 14.]

         In addition, the Plaintiffs draw attention to the Level 5 death row inmates’ access to counsel

 at the OSP. With their briefs, they claim that the eight death row prisoners on Level 5 cannot access

 the attorney visiting facilities provided for other OSP death row inmates; they say that they “are not

 permitted contact visits with their attorneys (or investigators, psychiatrists, mitigation specialists or

 consultants) in an attorney visiting room with a table and chairs, a glass window and a door that

 closes.” [Doc. 763 at 20.] They further state that prisoner-attorney phone calls, “when permitted,

 take place in the barber shop or medical satellite, not in one of the Death Row attorney visiting

 rooms.” Id. The Defendants do not acknowledge a difference in access to counsel between Level

 5 and other death row inmates and state:

         Attorney visits occur in the Death Row housing unit with two additional attorney
         rooms available within each housing unit. Such rooms may be used for both
         scheduled attorney visits and prescheduled telephone calls from attorneys. The two
         rooms within each housing block are private with sound-dampening panels, a drop
         down seal on the bottom of the door when closed, and permit face-to-face meetings.

 [Doc. 773 at 8.]

         With its 2005 Order, the Court expressed serious concern regarding death row inmates’

 access to counsel and counseled:

         As described [in 2005], the conditions predicted for meetings at OSP are certainly
         atypical when compared to the conditions for attorney-client meetings at either
         ManCI or SOCF. Given the importance of the ability of counsel to consult with their
         inmate clients, the lack of meeting space could be a substantial hardship. An
         acceptable plan would provide the inmates adequate access to counsel through both
         telephone and personal conference space. It would assure that attorney-client

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          communications are confidential and, of equal importance, that the inmates could
          have confidence in their confidentiality.

 [Doc. 624 at 18-19.] Faced with only conflicting allegations without supporting evidence, the Court

 will not find an atypical and significant hardship here at this preliminary stage of argument;

 however, the Court encourages the parties to ensure compliance with its 2005 admonition. Id.

          The Court also notes that at oral argument, the Plaintiffs appeared to retract some of their

 argument above and move the Court’s attention to their concern regarding access to legal materials:

          We would say that, comparing OSP and Mansfield, that there are still problems with
          legal access, not so much in the nature of communication with attorneys, but access
          to legal materials, and we would like an opportunity to present to you in detail . . .

          [Doc. 803 at 21.] Again, the Court will find no constitutional violation without any evidence

 before it on this point.

          Finally, the Plaintiffs make a creative argument that the exclusion of eligible death row

 prisoners from the “extended privilege” block implicates their constitutional right to life in the

 context of clemency decisions: “Being in the extended privilege block could tip the balance at a

 future clemency hearing, and clemency is a life and death decision.” [Doc. 763 at 16-18.] The

 Plaintiffs suggest that because all eligible death row inmates are not placed in the extended privilege

 block, thereby arguably impacting their clemency determinations, their right to life, in addition to

 liberty, is implicated, thereby triggering due process protection. Id. The Plaintiffs’ initial problem

 is that they fail to provide convincing evidence that the extended privilege block status in fact

 influences the clemency determination.9/ Without such evidence, the Court need not determine how

          9/
            The only evidence Plaintiffs offer is a September 2007 American Bar Association recommendation:
 “Clemency decision-makers should consider an inmate’s possible rehabilitation or performance of positive acts while
 on death row.” [Doc. 777 at 7 (citing Evaluating Fairness and Accuracy in State Death Penalty Systems: The Ohio Death
 Penalty Assessment Report, American Bar Association, September 2007, Executive Summary at xxiv and 296,
                                                                                                          (continued...)

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 this novel legal argument influences the analysis here.

         The Court notes its concerns with the Plaintiffs’ allegations, especially those involving death

 row inmates’ access to counsel; however, at this preliminary stage in the Plaintiffs’ argument, the

 Court cannot find that death row conditions at the OSP constitute an atypical and significant

 hardship warranting due process protection. Therefore, the Court does not find that the Defendants

 are committing current and ongoing violations of the Plaintiffs’ federal rights in the context of death

 row at the OSP. The Court concludes again by noting that the Plaintiffs still have the opportunity

 to provide the future “fuller presentation” they referenced in their briefing here, but it will have to

 take the form of a different lawsuit. [Doc. 763 at 13.]



                                               III. Conclusion

         For the reasons stated above, the Court DENIES the Plaintiffs’ motion to extend jurisdiction

 for another year and GRANTS the Defendants’ motion to terminate the prospective relief provided

 by the Court’s previous orders.

         IT IS SO ORDERED.



 Dated: March 12, 2008                              s/       James S. Gwin
                                                    JAMES S. GWIN
                                                    UNITED STATES DISTRICT JUDGE




         9/
        (...continued)
 Recommendation #5, available at <http://www.abanet.org/moratorium/assessmentproject/ohio/finalreport.pdf>).]
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